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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                               Chief Judge Philip A. Brimmer

   Civil Action No. 17-cv-02224-PAB-MEH

   JAMI BORGMANN, an individual,
   JUSTIN BORGMANN, an individual,
   JAMI BORGMANN and JUSTIN BORGMANN, on behalf of their two minor children,
   S.B. and E.B.,
   TONY AUYANG, an individual,
   MARY RITZ, an individual,
   JAMES RITZ, an individual,
   DEREK BARR, an individual,
   PAIGE BARR, an individual,
   ROBBY ORBANOSKY, an individual,
   JUDITH ORBANOSKY, an individual,
   HANNAH ORBANOSKY, an individual,
   PHILIP WINTERLAND, an individual,
   JOSLYN WINTERLAND, an individual,
   STEVAN ADJEMIAN, an individual,
   ASHLEY ADJEMIAN, an individual,
   KELSY HERRICK, an individual,
   JEFFREY HERRICK, an individual,
   KELSY and JEFFREY HERRICK, on behalf of their three minor children, D.H., M.H.,
   and M.H.,

          Plaintiffs,

   v.

   WEYERHAEUSER COMPANY,

        Defendant.
   _____________________________________________________________________

                                   ORDER
   _____________________________________________________________________

          This matter comes before the Court on the Stipulated Motion to Dismiss With

   Prejudice [Docket No. 210]. The Court has reviewed the pleading and is fully advised in

   the premises. It is
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          ORDERED that the Stipulated Motion to Dismiss With Prejudice [Docket No. 210]

   is granted. It is further

          ORDERED that, pursuant to Fed. R. Civ. P. 41(a), this matter, and all claims

   asserted therein, is dismissed with prejudice, with each party to bear its own attorneys’

   fees and costs.



          DATED August 14, 2019.

                                            BY THE COURT:


                                             s/Philip A. Brimmer
                                            PHILIP A. BRIMMER
                                            Chief United States District Judge




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